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THE UNITED STATES DISTRICT COURT
F()R THE MIDDLE DISTRICT OF PENNSYLVANIA

COnSurner Financial Protection Bureau, )
)
Plal`ntl'ff, ) Civil Action No. 3:CV-l7-()0101
) (Hon. Robert D. Mariani)
v. )
)
Navient Corporation, et al., )
) Electronically Filed
Defendam‘s. )

WITHDRAWAL OF APPEARANCE

TO THE CLERK:

Kindly WithdraW the appearance of the undersigned (Gideon Hart) as counsel
for Navient Corporation, Navient Solutions, LLC, and Pioneer Credit Recovery, Inc.
(“Defendants”). Attorneys Matthew T. Martens, Jonathan E. Paikin, Daniel P.
Kearney, and Karin Dryhurst cf WilrnerHale, and Daniel T. Brier and Donna A.
Walsh cf Myers Brier & Kelly, LLP, Who have already entered an appearance on

behalf of Defendants, Will continue to represent Defendants in this matter.

Dated: August 28, 2018 Respectfully submitted,
/s/ Gideon Hart

Gideon Hart (NY 4946091)
(pro hac vice)

Wilrner Cutler Pickering
Hale and Dorr LLP

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Attorney for Defendcmts Navient
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and Pz`oneer Crea’it Recovery, Inc.

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CERTIFICATE ()F SERVICE

l hereby certify that on August 28, 2018, I filed the foregoing document With
the Clerk of Court via the CM/ECF system, Which Will send notification of such

filing to all counsel of record Who are deemed to have consented to electronic

service.

/s/ Gideon Hart
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Artomey for Defendants
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Solutions, LLC, and Pioneer
Credl`t Recovery, Inc.

